Case 20-10343-LSS   Doc 1496-2   Filed 10/13/20   Page 1 of 4




        EXHIBIT 1
             Case 20-10343-LSS           Doc 1496-2        Filed 10/13/20      Page 2 of 4



From: Buchbinder, David (USTP) [mailto:David.L.Buchbinder@usdoj.gov]
Sent: Thursday, October 01, 2020 8:47 AM
To: Rachel B. Mersky; Beville, Sunni P.
Cc: McCollum, Hannah (USTP)
Subject: Coalition Motion re: POC signatures DE1388

Good morning,

I have reviewed the above motion filed overnight. I’m wondering why it was even filed.

Paragraph 4(b) of the Bar Date order does require the signature of the SAS (sexual abuse survivor) but
the approved POC permits signature by the claimant’s legal representative. See page 60 of the Bar Date
order and the SAS POC. The only requirement for a filing by a claimant’s legal representative, set forth
in the form, is: (Any form signed by a representative or legal guardian must attach documentation
establishing such person’s authority to sign this form for the Sexual Abuse Survivor.)

Based upon this, it would appear that the relief sought in your motion already exists and the Motion
should be withdrawn as unnecessary and moot. The form is consistent with the Rules, Official Form 410
and the local rules.

If you still believe this motion is necessary after reviewing the approved POC, please explain.

Thank you for your prompt response.


David L. Buchbinder
Trial Attorney
Office of the United States Trustee
844 King Street, Ste. 2207
Wilmiington, DE 19801
Telephone: 302-573-6541
Email: David.L.Buchbinder@usdoj.gov
             Case 20-10343-LSS           Doc 1496-2        Filed 10/13/20      Page 3 of 4



From: Rachel B. Mersky
Sent: Thursday, October 01, 2020 4:53 PM
To: 'Buchbinder, David (USTP)'; Beville, Sunni P.
Cc: McCollum, Hannah (USTP)
Subject: RE: Coalition Motion re: POC signatures DE1388

Good Afternoon.David,

We believed that there was some confusion regarding the bardate and proof of claim form. To confirm
our understanding, we reached out to counsel to the Debtors, the UCC, the TCC and the FCR prior to
filing our Motion to confirm the requirement given that the proof of claim form appears to be
inconsistent with the Bar Date Notice (which requires proof of claim to be signed by the sexual abuse
victim). They each noted that the signature of the sexual abuse victim is required under the Bar Date
Notice and Order approved by the Court. We now understand that the form authorizes the filing by an
authorized agent or attorney only in the event the claimant is incompetent, deceased or a minor. We
were also informed that the insurers would likely object strongly to our requested relief.

We feel the requirement for signature by the sexual abuse victim is not consistent with Rule 3001 and it
is a significant issue for sexual abuse survivors, particularly with the additional problems created by
COVID. We would appreciate the support of the US Trustee and we will be glad to discuss this with you
further .

Rachel

Rachel B. Mersky, Esquire
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